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   1                         UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
   2                               SOUTHERN DIVISION

   3    UNITED STATES OF AMERICA,

   4                   Plaintiff,
                                                     HON. GEORGE CARAM STEEH
   5       v.                                        No. 18-20421

   6    CRAIG DAVID EVANS,

   7                 Defendant.
        ____________________________/
   8

   9                                  SENTENCING
                              (Held Via Videoconference)
  10
                       BEFORE THE HONORABLE GEORGE CARAM STEEH
  11                         United States District Judge
                       Theodore Levin United States Courthouse
  12                         231 West Lafayette Boulevard
                                   Detroit, Michigan
  13
                                 Thursday, May 6, 2021
  14                                  11:32 a.m.

  15
        APPEARANCES:
  16
           For the Plaintiff:                  SARA WOODWARD
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   9    Exhibits:                                                       Received

  10     (None offered.)

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   1                                                    May 6, 2021

   2                                                    Detroit, Michigan

   3                                     -     -    -

   4           (Court, Counsel and Defendant present, 11:32 a.m.)

   5               THE COURT CLERK:      United States District Court for the

   6    Eastern District of Michigan is now in session; the Honorable

   7    George Caram Steeh presiding.           Court calls Case

   8    Number 18-20421, United States of America versus Craig David

   9    Evans.    Counsel, please state your appearances for the record.

  10               MS. WOODWARD:    Good morning, Your Honor.         Sara

  11    Woodward on behalf of the United States.

  12               THE COURT:    Good morning.

  13               MR. GONEK:    Good morning, Your Honor.         Ben Gonek

  14    appearing on behalf of Mr. Craig Evans.

  15               THE COURT:    Okay.       Welcome.

  16               Mr. Evans, you're present and again you can hear us

  17    all?

  18               THE DEFENDANT:     Yes, that's correct.

  19               THE COURT:    All right.        Very fine.

  20               Ms. France is here from probation, and we're here for

  21    purposes of a sentencing hearing.            The Court has received a, I

  22    believe, yes, a statement entitled Defendant's Intentions

  23    Regarding the Sentencing Hearing, and this document seems to

  24    indicate that Mr. Evans is prepared to consent to the hearing

  25    as a virtual hearing in a Zoom format to be done with the


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   1    defendant's consent.       And I gather that is still the case,

   2    Mr. Gonek, as far as you know?

   3               MR. GONEK:    That's correct, Your Honor.       I spoke with

   4    my client this week on Monday and as late as yesterday, and he

   5    advises me that he wishes to proceed to sentencing via Zoom.

   6               THE COURT:    All right.    Is that accurate, Mr. Evans?

   7               THE DEFENDANT:     Yes, Your Honor.      That is accurate.

   8               THE COURT:    You know you -- you understand that you do

   9    have an absolute right to require this to be done in person and

  10    when that might be available, sometime soon, but you believe it

  11    serves your purposes to have the hearing here today?

  12               THE DEFENDANT:     Yes, it suits my purposes.

  13               THE COURT:    And you will waive your right to be in

  14    person for this hearing as a consequence; is that right?

  15               THE DEFENDANT:     Yes, Your Honor, I do.

  16               THE COURT:    Any objection to pursuing this hearing

  17    today in this format, Miss Woodward?

  18               MS. WOODWARD:    No objection, Your Honor.       And if the

  19    Court could just also make an ends-of-justice finding that

  20    proceeding virtually also serves the ends of justice, I think

  21    that would be great.       But no objections.

  22               THE COURT:    All right.    Thank you.

  23               And you would join in that conclusion, Mr. Gonek?

  24               MR. GONEK:    I do, Your Honor.

  25               THE COURT:    Yes, I'm satisfied that the ends of


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   1    justice are best served by avoiding any further delays and

   2    conducting this as consented to by the parties.           And so the

   3    Court in that connection has received a proposed -- actually a

   4    memorandum both -- one submitted by the government and one

   5    submitted by Mr. Gonek on behalf of Mr. Evans.           Both of those

   6    documents include statements of fact and adoption of an

   7    advisory guideline range in the case that seems to be agreed

   8    upon between the parties as well.        Is that accurate?

   9               MR. GONEK:    It is, Your Honor.

  10               MS. WOODWARD:    Yes, Your Honor.

  11               THE COURT:    Okay.    So the Court's had an opportunity

  12    to peruse these documents, and it appears that there is an

  13    agreement.    The Court is -- whereby the Court would find the

  14    advisory guideline range in this case to be 97 to 21 -- 121

  15    months in length.       So do both sides agree on the facts that are

  16    set forth in the presentence report as well as the calculation

  17    of the guideline range at 97 to 121 months?          Mr. Gonek?

  18               MR. GONEK:    That is correct.

  19               THE COURT:    All right.    Ms. Woodward?

  20               MS. WOODWARD:    Yes, Your Honor.

  21               THE COURT:    Okay.    What would you like the Court to

  22    consider additionally, if anything, Mr. Gonek?

  23               MR. GONEK:    Judge, I think I've highlighted all the

  24    major points in the sentencing memorandum.          The plea agreement

  25    in this case calls for a sentence of 120 months.           If it's


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   1    anything else, the government can withdraw, or if it's anything

   2    more, the defendant can withdraw from the plea agreement.               Your

   3    Honor, I think 120 months is certainly sufficient in this case.

   4    Mr. Evans is 58 years old.       He has no prior felony convictions.

   5    He had a childhood that was marred by abuse — physical, mental

   6    and emotional abuse.      I think the presentence report is --

   7    pretty much contains a theme that he certainly suffers from an

   8    alcohol problem.     In fact, he had two prior misdemeanor

   9    convictions for operating under the influence of liquor, a

  10    prior case that was dismissed for open intox.           I think his

  11    family has also indicated that he has an alcohol problem.               And

  12    I say all that because I think that really is -- the abuse and

  13    the alcohol led to the commission of the instant offense.

  14               I would ask the Court to adopt the plea agreement --

  15    or to accept the plea agreement by the parties, sentence

  16    Mr. Evans appropriately to that 120 months, and we would ask

  17    for recommendation of mental health treatment and alcohol

  18    treatment through RDAP in the Federal Bureau of Prisons.

  19               Mr. Evans does have a supportive family.         I believe

  20    his sister spoke to the probation department, Doreen Simmons,

  21    her name is Doreen Simmons, and indicated that they are

  22    supportive of Mr. Evans.       He does have a bachelor's degree, I

  23    believe, in accounting, and once he serves his term and is

  24    released, if he gets the appropriate treatment, he will

  25    certainly be a productive member of society and there will be a


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   1    low chance that he will commit another offense.

   2               If the Court wants me to address restitution or the

   3    waiver -- or the special assessment, I can do it now or I can

   4    do it after the Court imposes a sentence.          I don't know how the

   5    Court wants me to address.

   6               THE COURT:    All right.    Well, why don't we initially

   7    begin by calling on Ms. Woodward to hear what she has to say on

   8    behalf of the government, and she can -- invite her to indicate

   9    about restitution, what you would like to say in response to

  10    Mr. Gonek's request that any determination of restitution be

  11    deferred to, I believe, if I understood what you asked,

  12    Mr. Gonek, it was that the Court not deal with it at this

  13    point.   Is that right?

  14               MR. GONEK:    Correct, as it relates to the $3,000 for

  15    the eight victims.      Your Honor, I'm just simply requesting, and

  16    it's my fault for not requesting it earlier.           Miss Woodward and

  17    I can meet, and if she can show me that the victims that are

  18    requesting restitution were actually victims in this case, then

  19    we'll stipulate to it, and I think that that -- there would

  20    really be no need for a hearing.

  21               THE COURT:    Okay.    Now, Ms. Woodward.

  22               MS. WOODWARD:    Thank you, Judge.

  23               I'll start with restitution.       You know, I think some

  24    things have maybe gotten -- we've lost track of because we were

  25    scheduled to hold this sentencing in March of last year, so


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   1    it's been a little -- it's been a minute.          Mr. Evans was

   2    represented at that time by different counsel, and I did

   3    provide the Court and Miss Stout, his prior counsel, with

   4    victim impact statements and restitution requests at that time.

   5    It may be that Mr. Gonek hasn't seen those, and I can certainly

   6    also show him.     You know, we get a report from the National

   7    Center For Missing and Exploited Children identifying the

   8    serious victims in a particular defendant's collection.             This

   9    defendant's collection was over 27,000 files of child

  10    pornography.     We received victim impact statements from over 20

  11    and restitution requests from eight at the time that I wrote my

  12    sentencing memo a year ago, but just this week I received

  13    another one.

  14               So all of that to say I'm happy to show Mr. Gonek the

  15    documents establishing that the nine victims that have

  16    submitted restitution requests were depicted in Mr. Evans's

  17    collection, and then once he and I meet, we hopefully can

  18    submit a stipulation to the Court for the $3,000 per victim

  19    that we set forth in the plea agreement.

  20               THE COURT:    Does that have to occur within a certain

  21    period of time?

  22               MS. WOODWARD:    It does.

  23               THE COURT:    90 days or --

  24               MS. WOODWARD:    Yes, that's right.      And I think we can

  25    do it certainly faster than that, Mr. Gonek.           I don't think it


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   1    will take long.

   2               THE COURT:    Okay.    All right.   Is that agreeable,

   3    Mr. Gonek?

   4               MR. GONEK:    Yes, sir.

   5               THE COURT:    Okay.    All right.   Okay.    Go ahead.

   6               MS. WOODWARD:    Thank you, Judge.

   7               As far as, you know, allocution for sentencing, I did

   8    file a memo with the Court.        I know the Court is also a little

   9    more familiar with this case because we had a suppression

  10    hearing and the Court heard testimony from, you know, a case

  11    agent and from Mr. Evans himself.        So I won't belabor the

  12    facts, but they're a little unusual here and more unusual than

  13    in -- not that there's really any run-of-the-mill child

  14    pornography case, but this is outside the standard child

  15    pornography case which is why the parties agreed on a 120-month

  16    sentence.

  17               You know, Mr. Evans is here for child pornography

  18    crimes, and he did have a large collection of child

  19    pornography; as I said, over 27,000 files.          And, of course,

  20    that caused harm to the victims depicted in those images and

  21    videos.     But the Court is also familiar with the facts

  22    surrounding Mr. -- well, Victim 1 and Minor Victim 1, and my

  23    sentencing memo reminds the Court of the statements that

  24    Victim 1 made about how she came to be in the United States at

  25    a young age.     She was an adult, but she was still very young.


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    1   And also the statement from Minor Victim 1, that she was

    2   sexually abused by the defendant.

    3              The defendant does dispute that and that was -- and he

    4   has maintained that he did not sexually abuse Minor Victim 1

    5   but that is in the Court -- in the government's sentencing

    6   memo.    And those are some of the facts behind why we had a

    7   somewhat unusual resolution in this case to agree upon a

    8   ten-year sentence.      And I think those facts justify the

    9   ten-year sentence and gives the Court some satisfaction that

   10   the parties' resolution is a fair and just one.            So we would

   11   ask that the Court impose that ten-year sentence and then I

   12   will work with Mr. Gonek on the restitution issue.

   13              THE COURT:    All right.     Thank you, Miss Woodward.

   14              Mr. Evans, what would you like the Court to hear

   15   before sentence is imposed, sir?

   16              THE DEFENDANT:     Judge, I'm [indiscernible] for what

   17   I've done --

   18              THE COURT:    Could you speak up just a little bit.           I'm

   19   having some trouble hearing.

   20              THE DEFENDANT:     I said I'm taking responsibility for

   21   what I've done and very sorry for anything that's happened to

   22   anybody.    That's really all I have to say.

   23              THE COURT:    All right.     Thank you, Mr. Evans.

   24              Well, the starting point for the Court's consideration

   25   of an appropriate sentence in this case is the advisory


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    1   guideline range which has been agreed upon, and that's 97 to

    2   121 months.     The Court will accept the Rule 11 plea agreement

    3   that is an agreement among the parties that is suitable.             Term

    4   of confinement is 120 months.        And the reasons I think that

    5   have been outlined here from counsel are, again, agreed upon

    6   between the parties as appropriate, and the Court will accept

    7   their reasoning as both sides have explained what occurred

    8   here.    And the Court is satisfied then that the sentence of 120

    9   months is sufficient, not greater than necessary to accomplish

   10   the goals of the sentencing statute and Section 3553(a).             And

   11   the Court therefore will order pursuant to the sentencing

   12   statute at -- oh, gosh, it's been awhile, I guess.            I don't

   13   have the -- on the tip of my tongue, but the sentencing called

   14   for under section -- well, let me see.          It's Sentencing Reform

   15   Act of 1984?     I probably -- I don't know how many hundreds of

   16   sentences I've imposed, and you would think I would remember

   17   the statute, but that is a -- is the -- should include -- the

   18   confinement order should include recommendation to the facility

   19   that offers a residential sex offender treatment program would

   20   be fully appropriate in this case.

   21              Upon the defendant's release from confinement, the

   22   Court will order that he be placed in supervised release for a

   23   term of five years.      The Court will order a special assessment

   24   in the amount of $100 which is due immediately, and the Court

   25   will order that the Justice for Victims of Trafficking Act


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    1   which would otherwise require a $5,000 obligation is going to

    2   be waived in this case given the lack of resources, financial

    3   condition of the defendant.

    4              The Court will waive the imposition of a fine, the

    5   cost of confinement and the cost of supervision given, again,

    6   the defendant's lack of resources in the case.           The Court will

    7   order that he be subject to mandatory drug testing, and will be

    8   obliged to cooperate with a collection of a DNA sample pursuant

    9   to statute as directed by probation officer.

   10              While on supervision, the defendant is going to be

   11   ordered to abide by standard conditions adopted by the Eastern

   12   District of Michigan and special conditions that include

   13   additional provisions based on the need to protect the public.

   14              The following conditions of probation will be

   15   included:     Compliance with the requirements of the Sex Offender

   16   Registration and Notification Act.         Mr. Evans will be required

   17   to abide by the directions given by probation and any state

   18   offender registration agency where the defendant may work,

   19   reside or convicted of a qualifying offense.

   20              The -- Mr. Evans must successfully complete any sex

   21   offender diagnostic evaluation, treatments, counseling programs

   22   as directed by probation, and the reports pertaining to sex

   23   offender assessment and treatment should be provided to the

   24   probation officer on request.        Based on his ability to pay,

   25   Mr. Evans may have an obligation to cover the cost of


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    1   diagnostic evaluations, treatment or counseling programs in an

    2   amount determined by the probation officer.

    3              Mr. Evans will be obliged to avoid contact directly or

    4   indirectly with any victim or witness in this offense unless

    5   approved by probation, and he must not have direct contact with

    6   any children or others under the age of 18 not including his

    7   own children without the permission of probation.            If he does

    8   have any direct contact with children he knows or reasonably

    9   should know to be under the age of 18, the defendant must

   10   report this contact to probation within 24 hours, and that

   11   includes -- direct contact includes written communications,

   12   physical -- or physical contact.         And direct contact does not

   13   include incidental contact during ordinary daily activities in

   14   public places.

   15              Mr. Evans will be required to notify anyone he dates

   16   or marries who has a minor under the age of 18 -- with a minor

   17   child under the age of 18 of his conviction.           He must not

   18   purchase, sell, use, possess images in any form or media, of

   19   course, or live that depicts pornography, sexually explicit

   20   contact, child erotica or child nudity.          He must not patronize

   21   any place where such material is available.           And he must have

   22   employment preapproved by probation, and must not be employed

   23   or participate in any volunteer activities including contacts

   24   with minors under the age of 18 or adults with disabilities

   25   without prior approval of probation.


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    1              Mr. Evans will be required to have all of his

    2   residences preapproved by probation and must not provide care

    3   or live in a residence where children under the age of 18 or

    4   adults with disabilities also reside without prior approval of

    5   probation.     Mr. Evans must participate in the Computer Internet

    6   Monitoring Program administered by the United States Probation

    7   Department.     He must abide by the program participant agreement

    8   in effect at the time of the supervision and comply with any

    9   amendments to the program during the term of supervision.

   10              Due to advances in technology, the Court will adopt

   11   the amendments to the CIMP as necessary, that being the

   12   computer monitoring program.

   13              Mr. Evans should submit to -- by his person,

   14   residence, office or vehicles to search on reasonable request

   15   by probation at a reasonable time and reasonable manner based

   16   upon reasonable suspicion of contraband or evidence of a

   17   violation of the condition of release.          And his failure to

   18   submit to a search may be grounds for revocation of

   19   supervision.     And he must warn any residents of the premises

   20   that it may be subject to searches.

   21              Mr. Evans has self-reported a history of substance

   22   abuse and mental health concerns, and the Court will recommend

   23   during his confinement that he be referred for substance abuse

   24   testing and treatment, that ultimately it has -- he is released

   25   to supervision.      That testing will include testing for the use


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    1   of drugs or alcohol; make sure he hasn't reverted to that if

    2   necessary.

    3              Defendant participate in a program approved by

    4   probation for substance abuse once released which may include

    5   testing to determine whether he's reverted to the use of drugs

    6   or alcohol.     And the defendant shall participate in a program

    7   approved by probation for mental health counseling if

    8   necessary.

    9              Due to restitution being an issue in the case, the

   10   Court will either receive a stipulation between the parties or

   11   a request for a hearing if they're unable to reach an

   12   agreement.

   13              And so Mr. Gonek asked the Court to consider making a

   14   recommendation for participation in a RDAP program, and

   15   certainly it appears that his substance abuse would support the

   16   reference and the help that Mr. Evans may need to cope once

   17   released from confinement.        So the Court will include that

   18   recommendation as made by Mr. Gonek.

   19              Anything else that you believe the sentence ought to

   20   include, Ms. France, from probation?          Anything you can think

   21   of?

   22              MS. FRANCE:    No, Your Honor.      I think you included

   23   everything.

   24              THE COURT:    Okay.    Ms. Woodward, anything on your

   25   part?


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    1              MS. WOODWARD:     Thank you, Judge.      If you could just

    2   confirm, when the Court said that the 120-month sentence was

    3   sufficient but not greater than necessary, I think that what

    4   you were implying, but if I could just confirm, was that you

    5   were -- made that conclusion by considering the factors set

    6   forth in 18 U.S.C. Section 3553(a).

    7              THE COURT:    Yes.      Thank you.   That should be

    8   clarified.     And it is, indeed, a sentence that I think fairly

    9   considers the factors that include an assessment in the

   10   seriousness of the offense, background characteristics of the

   11   defendant in committing the violations, the need to deter both

   12   Mr. Evans as well as others who might be inclined to commit

   13   similar violations, both specific and general deterrence,

   14   therefore.     And those are the primary factors that I think are

   15   essential to any sentencing decision and are fairly accounted

   16   for in recommending a sentence of 120 months, again, something

   17   agreed upon by both sides in this case.

   18              Anything else you can think of, Ms. Woodward?

   19              MS. WOODWARD:     No.     Thank you, Judge.

   20              THE COURT:    Okay.      Mr. Gonek, anything on your part?

   21              MR. GONEK:    No, sir.

   22              THE COURT:    All right.      As much as the Court has

   23   received and accepted the Rule 11 agreement in this case, I

   24   won't be advising the defendant of a right to appeal the

   25   conviction and sentence imposed, but I will wish you good luck,


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    1   sir.

    2              THE DEFENDANT:       Thank you.

    3              MS. WOODWARD:     Judge, to the extent that we need to, I

    4   believe I need to make a motion to dismiss Count 2 of the

    5   indictment which charged the defendant with possession of child

    6   pornography.

    7              THE COURT:    Yes.     Pursuant to the agreement in the

    8   case, the Court will enter an order dismissing that count.

    9              MS. WOODWARD:     Thank you.

   10              THE COURT:    Okay.     I think we got it covered.

   11              MR. GONEK:    Thank you, everyone.

   12              THE COURT:    Okay.     All right.    Very good.   Thank you.

   13              MR. GONEK:    Bye-bye.

   14              MS. WOODWARD:     Thank you.

   15              THE COURT CLERK:       Court is adjourned.

   16        (Proceedings concluded, 12:03 p.m.)

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    1

    2                          CERTIFICATION OF REPORTER

    3

    4       I, Leann S. Lizza, do hereby certify that the above-entitled

    5   matter was taken before me remotely via videoconference at the

    6   time and place hereinbefore set forth; that the proceedings

    7   were duly recorded by me stenographically and reduced to

    8   computer transcription; that this is a true, full and correct

    9   transcript of my stenographic notes so taken; and that I am not

   10   related to, nor of counsel to either party, nor interested in

   11   the event of this cause.

   12

   13

   14   S/Leann S. Lizza                                         5-24-2021

   15   Leann S. Lizza, CSR-3746, RPR, CRR, RMR, RDR             Date

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